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 WACHTELL, LIPTON, ROSEN & KATZ
 51 West 52nd Street
 New York, New York 10019
 Telephone: (212) 403-1000
 Facsimile: (212) 403-2000
 Scott K. Charles
 Amy R. Wolf

 327(e) Counsel for Debtors
 and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------- x
 In re:                                                          :
                                                                 :       Chapter 11
 SEARS HOLDINGS CORPORATION, et al.,:
                                                                 :       Case No. 18-23538 (RDD)
                                                                 :
                   Debtors.*                                     :       (Jointly Administered)
 --------------------------------------------------------------- x

                       FIRST MONTHLY FEE STATEMENT OF
           WACHTELL, LIPTON, ROSEN & KATZ FOR COMPENSATION FOR
        SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED
                  AS ATTORNEYS FOR DEBTORS FOR THE PERIOD
              FROM OCTOBER 15, 2018 THROUGH DECEMBER 31, 2018

 Name of Applicant:                             Wachtell, Lipton, Rosen & Katz,


 *
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart
     Operations LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc. (6774);
     SHC Licensed Business LLC (3718); A&E Factory Service, LLC (6695); A&E Home Delivery, LLC (0205);
     A&E Lawn & Garden, LLC (5028); A&E Signature Service, LLC (0204); FBA Holdings Inc. (6537); Innovel
     Solutions, Inc. (7180); Kmart Corporation (9500); MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears
     Development Co. (6028); Sears Holdings Management Corporation (2148); Sears Home & Business Franchises,
     Inc. (6742); Sears Home Improvement Products, Inc. (8591); Sears Insurance Services, L.L.C. (7182); Sears
     Procurement Services, Inc. (2859); Sears Protection Company (1250); Sears Protection Company (PR) Inc.
     (4861); Sears Roebuck Acceptance Corp. (0535); Sears, Roebuck de Puerto Rico, Inc. (3626); SYW Relay LLC
     (1870); Wally Labs LLC (None); SHC Promotions LLC (9626); Big Beaver of Florida Development, LLC
     (None); California Builder Appliances, Inc. (6327); Florida Builder Appliances, Inc. (9133); KBL Holding Inc.
     (1295); KLC, Inc. (0839); Kmart of Michigan, Inc. (1696); Kmart of Washington LLC (8898); Kmart Stores of
     Illinois LLC (8897); Kmart Stores of Texas LLC (8915); MyGofer LLC (5531); Sears Brands Business Unit
     Corporation (4658); Sears Holdings Publishing Company, LLC. (5554); Sears Protection Company (Florida),
     L.L.C. (4239); SHC Desert Springs, LLC (None); SOE, Inc. (9616); StarWest, LLC (5379); STI Merchandising,
     Inc. (0188); Troy Coolidge No. 13, LLC (None); BlueLight.com, Inc. (7034); Sears Brands, L.L.C. (4664); Sears
     Buying Services, Inc. (6533); Kmart.com LLC (9022); and Sears Brands Management Corporation (5365). The
     location of the Debtors’ corporate headquarters is 3333 Beverly Road, Hoffman Estates, Illinois 60179.




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                                              Attorneys for Debtor and Debtor in Possession

 Date of Retention:                           November 19, 2018 Nunc pro tunc to October 15, 2018

 Period for Which Fees and                    October 15, 2018 through and December 31, 2018
 Expenses are Incurred:

 Monthly Fees Incurred:                       $463,657.50

 Less 20% Holdback:                           $ 92,731.50

 Monthly Expenses Incurred:                   $   5,361.16

 Total Fees and Expenses Due:                 $376,287.16

 This is a                                     X Monthly          Interim       Final Fee Application

         In accordance with the Order Authorizing Procedures for Interim Compensation and

 Reimbursement of Expenses of Professionals [ECF No. 796] (the “Interim Compensation

 Order”),† Wachtell, Lipton, Rosen & Katz (“WLRK”) hereby submits this first monthly fee

 statement (the “First Monthly Fee Statement”), seeking compensation for services rendered and

 reimbursement of expenses incurred as 327(e) counsel to the Debtors, for the period from

 October 15, 2018 through December 31, 2018 (the “First Monthly Fee Period”). By this First

 Monthly Fee Statement, WLRK seeks payment in the amount of $376,287.16, which comprises

 (i) $370,926.00, which represents eighty percent (80%) of the total amount of compensation

 sought for actual and necessary services rendered during the First Monthly Fee Period and (ii)

 reimbursement of $5,361.16, which represents one hundred percent (100%) of actual and

 necessary expenses incurred in connection with such services.

                               Services Rendered and Expenses Incurred

         1.       Attached as Exhibit A is a summary of WLRK’s professionals by individual,

 setting forth the (i) name, title, and department of each individual who provided services in


 †
  Capitalized terms used herein but not otherwise defined herein have the meanings ascribed to them in the Interim
 Compensation Order.



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 connection with the Chapter 11 Cases during the First Monthly Fee Period, (ii) aggregate hours

 spent by each individual, (iii) hourly billing rate for each such individual at WLRK’s then

 current billing rates, (iv) amount of fees earned by each WLRK professional, and (v) the year of

 bar admission for each attorney. The blended hourly billing rate of WLRK attorneys during the

 First Monthly Fee Period is approximately $1,211.84. The blended hourly rate of paralegals

 during the First Monthly Fee Period is approximately $275.00.

        2.      Attached as Exhibit B is a summary of the services rendered and compensation

 sought, by project category, for the First Monthly Fee Period.

        3.      Attached as Exhibit C is a summary of expenses incurred and reimbursement

 sought, by expense type, for the First Monthly Fee Period.

        4.      Attached as Exhibit D is itemized time detail of WLRK professionals for the First

 Monthly Fee Period and summary materials related thereto.

                                Notice and Objection Procedures

        Notice of this First Monthly Fee Statement shall be given by hand or overnight delivery

 or email where available upon (i) Sears Holdings Corporation, 3333 Beverly Road, Hoffman

 Estates, Illinois 60179, Attention: Rob Riecker (email: Rob.Riecker@searshc.com) and Luke

 Valentino (email: Luke.Valentino@searshc.com); (ii) counsel to the Debtors, Weil, Gotshal &

 Manges LLP, 767 Fifth Avenue, New York, NY 10153, Attention: Ray C. Schrock (email:

 ray.schrock@weil.com), Jacqueline Marcus (email: jacqueline.marcus@weil.com), Garrett A.

 Fail (email: garrett.fail@weil.com), and Sunny Singh (email: sunny.singh@weil.com); (iii)

 William K. Harrington, the United States Trustee, U.S. Federal Office Building, 201 Varick

 Street, Suite 1006, New York, NY 10014, Attention: Paul Schwartzberg (e-mail:

 paul.schwartzberg@usdoj.gov) and Richard Morrissey (e-mail: richard.morrissey@usdoj.gov);




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 (iv) counsel to the Official Committee of Unsecured Creditors, Akin Gump Strauss Hauer &

 Feld LLP, One Bryant Park, New York, New York, 10036, Attention: Philip C. Dublin (email:

 pdublin@akingump.com), Ira Dizengoff (email: idizengoff@akingump.com), and Sara Lynne

 Brauner (email: sbrauner@akingump.com); and (v) counsel to Bank of America, N.A., Skadden,

 Arps, Slate, Meagher & Flom LLP, 4 Times Square, New York, NY 10036, Attention: Paul D.

 Leake (email: paul.leake@skadden.com), Shana A. Elberg (email: shana.elberg@skadden.com)

 and George R. Howard (email: george.howard@skadden.com) (collectively, the “Notice

 Parties”).

        Objections to this First Monthly Fee Statement, if any, must be filed with the Court and

 served upon the Notice Parties so as to be received no later than January 31, 2019 (the

 “Objection Deadline”), setting forth the nature of the objection and the amount of fees or

 expenses at issue (an “Objection”).

        If no objections to this First Monthly Fee Statement are filed and served as set forth

 above, the Debtors shall promptly pay eighty percent (80%) of the fees and one hundred percent

 (100%) of the expenses identified herein.

        If an objection to this First Monthly Fee Statement is received on or before the Objection

 Deadline, the Debtors shall withhold payment of that portion of this First Monthly Fee Statement

 to which the objection is directed and promptly pay the remainder of the fees and disbursements

 in the percentages set forth above. To the extent such an objection is not resolved, it shall be

 preserved and scheduled for consideration at the next interim fee application hearing to be heard

 by the Court.


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 Dated: January 16, 2019               /s/ Scott K. Charles
 New York, New York                    WACHTELL, LIPTON, ROSEN & KATZ
                                       51 West 52nd Street
                                       New York, New York 10019
                                       Telephone: (212) 403-1000
                                       Facsimile: (212) 403-2000
                                       Scott K. Charles
                                       Amy R. Wolf

                                       327(e) Counsel for Debtors and Debtors in
                                       Possession




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                                                 EXHIBIT A

                SUMMARY OF FIRST MONTHLY FEE STATEMENT OF
            WACHTELL, LIPTON, ROSEN & KATZ FOR SERVICES RENDERED
           FOR THE PERIOD OCTOBER 15, 2018 THROUGH DECEMBER 31, 2018

                                                                               TOTAL
                                                      YEAR        HOURLY       HOURS              TOTAL
     NAME OF PROFESSIONAL:          DEPARTMENT‡     ADMITTED§      RATE        BILLED          COMPENSATION
 Neff, Daniel A. (Partner)               CORP          1978       $ 1,400.00        0.60       $       840.00
 Charles, Scott K. (Partner)              REFI         1985       $ 1,400.00      211.20       $   295,680.00
 Panovka, Robin (Partner)               RE M&A         1993       $ 1,400.00       11.00       $     15,400.00
 Wolf, Amy R. (Of Counsel)                REFI         1980       $ 1,300.00        9.20       $     11,960.00
 Chen, Dianna (Counsel)                 RE M&A         2000       $   975.00       10.25       $      9,993.75
 Koenig, Mark A. (Counsel)              RE M&A         2001      $    975.00        1.00       $       975.00
 Adlerstein, David M. (Counsel)          CORP          2003       $ 1,000.00        1.10       $      1,100.00
 Snyder, Neil M. (Counsel)                REFI         2012       $   925.00      127.20       $   117,660.00
 Ross, Richard M. (Associate)           RE M&A         1970      $    850.00        2.60       $      2,210.00
 Chatani, Neil K. (Associate)             REFI         2012       $   925.00        8.40       $      7,770.00
 Roccisano, Suzanne (Paralegal)         RE M&A         N/A        $   275.00        0.25       $        68.75
 Total Professionals:                                                             382.80       $   463,657.50


                    PROFESSIONALS                                          TOTAL
                                                           BLENDED         HOURS                  TOTAL
 TOTALS:                                                     RATE          BILLED              COMPENSATION
 Partners and Counsel                                  $      1,220.86     371.55          $       453,608.75
 Associates                                            $        907.27      11.00          $         9,980.00
 Paraprofessionals and other non-legal staff           $        275.00       0.25          $            68.75
 Blended Attorney Rate                                 $      1,211.84
 Total Fees Incurred                                                       382.80          $       463,657.50




 ‡
     CORP – Corporate; RE M&A – Real Estate M&E; REFI – Restructuring & Finance
 §
     To the bar of the State of New York unless otherwise noted.



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                                              EXHIBIT B

     SUMMARY BY PROJECT CATEGORY FOR THE PERIOD OCTOBER 15, 2018
                     THROUGH DECEMBER 31, 2018


                                                          TOTAL HOURS           TOTAL
                         Project Category                   BILLED           COMPENSATION
 Asset Disposition (002)                                    195.30      $     238,352.50
 Business Operations (006)                                    0.90      $         940.00
 Case Administration (007)                                   32.90      $      41,095.00
 Claims Administration and Objections (008)                  34.20      $      44,295.00
 Corporate Governance (009)                                   1.30      $       1,820.00
 Employee Benefits and Pensions (010)                        14.30      $      19,022.50
 Employment and Fee Applications (011)                       15.40      $      16,755.00
 Financing and Cash Collateral (013)                         27.90      $      28,847.50
 Real Estate (018)                                           60.60      $      72,530.00
 Total Fees Incurred                                        382.80      $     463,657.50




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                                           EXHIBIT C

         EXPENSE SUMMARY FOR THE PERIOD OCTOBER 15, 2018 THROUGH
                           DECEMBER 31, 2018



 EXPENSES                                                                        AMOUNTS
 Duplicating                                                                $            1.65
 Travel – Local Attorneys                                                   $        1,912.90
 Travel – Local Staff                                                       $         457.90
 Library – Westlaw Recovery                                                 $         338.78
 Word Processing                                                            $         105.00
 Meals – Attorneys                                                          $        2,358.09
 Meals – Paralegals                                                         $          69.49
 Meals – Support Staff                                                      $          18.18
 O/S Filing & Witness Fees                                                  $          70.00
 O/S Proofreading                                                           $           7.38
 O/S Telephone                                                              $          21.79
 Total Expenses Requested:                                                  $        5,361.16




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                                    EXHIBIT D

    ITEMIZED TIME DETAIL FOR THE PERIOD OCTOBER 15, 2018 THROUGH
                          DECEMBER 31, 2018

                                    See attached.




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                                                           Project
Work Date       Last Name      First Name       Title     Category   Hours    Work Amount                                  Description
                                                                                           Review 142 Store Closing list and four wall EBITDA information relating
                                                                                           thereto; review provisions of Security Master Lease in connection
                                                                                           therewith; telephone calls with various parties relating to the foregoing
10/16/2018   Charles        Scott K.        Partner         002        4.80       6,720.00 matters; status of the case and various claims

                                                                                           Review various financial information regarding pending store sales;
                                                                                           telephone calls with various parties regarding the foregoing, store closing
10/17/2018   Charles        Scott K.        Partner         002        3.20       4,480.00 sales, vendor issues, potential sale transactions and status of the case
10/17/2018   Snyder         Neil M.         Counsel         002        0.90         832.50 Landlord side letters

                                                                                           Review information regarding store closing sales; telephone calls with
10/18/2018   Charles        Scott K.        Partner         002        2.30       3,220.00 various parties regarding store closing sales and status of the case
10/18/2018   Snyder         Neil M.         Counsel         002        0.50         462.50 Telephone calls regarding landlord side letters
                                                                                           Telephone calls with various parties regarding store closing sales and status
10/19/2018   Charles        Scott K.        Partner         002        0.70         980.00 of the case
10/19/2018   Snyder         Neil M.         Counsel         002        0.40         370.00 Calls regarding landlord side letters
                                                                                           Review various materials/objections regarding store closings; telephone
                                                                                           calls with various parties regarding store closing sales, objections to the
10/22/2018   Charles        Scott K.        Partner         002        2.80       3,920.00 same and status of the case.
10/22/2018   Snyder         Neil M.         Counsel         002        1.50       1,387.50 Landlord side letters and calls regarding same
                                                                                           Review various objections to Abacus; telephone calls with various parties
10/23/2018   Charles        Scott K.        Partner         002        1.40       1,960.00 regarding store closing sales and status of the case
10/23/2018   Snyder         Neil M.         Counsel         002        4.90       4,532.50 Store closing order; landlord side letters and calls regarding same

                                                                                             review various objections to strore closing process; telephone calls with
                                                                                             various parties relating to store closing matters and related objections, rela
                                                                                             estate matters, A&G agreement, landlord side letters, potential sale
10/24/2018   Charles        Scott K.        Partner         002        3.30       4,620.00   transaction, PBGC escrow, WLRK retention and status of the case
10/24/2018   Snyder         Neil M.         Counsel         002        8.70       8,047.50   Landlord side letters and calls regarding same; store closing order
10/25/2018   Wolf           Amy R.          Of Counsel      002        0.30         390.00   Calls re store closing objections
                                                                                             Review objections to store closing process; review proposed order
                                                                                             regarding procedures for store closing sales/liquidation consultant;
                                                                                             attention to store closing hearing; telephone calls with various parties
10/25/2018   Charles        Scott K.        Partner         002        4.80       6,720.00   regarding the foregoing,and status of the case
10/25/2018   Snyder         Neil M.         Counsel         002        4.50       4,162.50   Revisions of landlord side letters and calls regarding same
                                                                                             Review correspondence regarding side letters; telephone calls with various
                                                                                             parties regarding landlord side letters, store closing matters and status of
10/26/2018   Charles        Scott K.        Partner         002        0.70        980.00    the case
10/26/2018   Snyder         Neil M.         Counsel         002        0.80        740.00    Landlord side letters
                                                                                             Telephone calls with various parties regarding store closing matters and
10/29/2018   Charles        Scott K.        Partner         002        0.90       1,260.00   status of the case
10/29/2018   Snyder         Neil M.         Counsel         002        0.50         462.50   Lefmark side letter
10/30/2018   Snyder         Neil M.         Counsel         002        0.80         740.00   Side letters
                                                                                             Telephone calls with various parties regarding store closing process, sales,
10/31/2018   Charles        Scott K.        Partner         002        2.30       3,220.00   side letters and status of the case
10/31/2018   Snyder         Neil M.         Counsel         002        0.70         647.50   Communication with landlord counsel; NW side letter

11/01/2018   Charles        Scott K.        Partner         002        1.10       1,540.00 Telephone calls with various parties regarding sales and status of the case
                                                                                           Review emails; telephone calls with various parties regarding sale process,
11/02/2018   Charles        Scott K.        Partner         002        1.60       2,240.00 sale of protection agreements and status of the case
                                                                                           Telephone calls with various parties regarding sales process, Innovel, IP and
11/05/2018   Charles        Scott K.        Partner         002        1.90       2,660.00 status of the case
                                                                                           Telephone calls with various parties regarding the sales process and status
11/06/2018   Charles        Scott K.        Partner         002        0.70         980.00 of the case
                                                                                           Side letters; distribution of financing documents; communication regarding
11/06/2018   Snyder         Neil M.         Counsel         002        2.30       2,127.50 the foregoing
11/07/2018   Snyder         Neil M.         Counsel         002        1.50       1,387.50 Side letters; communication re same

                                                                                           Review notice re: additional Store closings; telephone calls with various
11/08/2018   Charles        Scott K.        Partner         002        1.00       1,400.00 parties regarding store closing process and status of the case
11/08/2018   Snyder         Neil M.         Counsel         002        3.00       2,775.00 Side letters; communication re transaction status

                                                                                           Review emails re Store rationalization plan; telephone calls with various
11/09/2018   Charles        Scott K.        Partner         002        2.00       2,800.00 parties regarding the foregoing, store closing process and status of the case
11/09/2018   Snyder         Neil M.         Counsel         002        1.00         925.00 Side letters

                                                                                             Review Company/MIII presentation to Comm; review Gordon/Hilco Store
                                                                                             Closing Agreement; review emails; telephone calls with various parties
11/12/2018   Charles        Scott K.        Partner         002        3.90       5,460.00   regarding the foregoing, business plan and status of the case
11/12/2018   Snyder         Neil M.         Counsel         002        0.50         462.50   Side letters
11/13/2018   Wolf           Amy R.          Of Counsel      002        0.30         390.00   Review filings re auction procedures.
                                                                                             Review materials prepared by Company/MIII re: Business Plan/go forward
                                                                                             process/projections; review Debtors' pleadings re: 363 process/Global
                                                                                             bidding reply; telephone calls with various parties regarding the foregoing,
11/13/2018   Charles        Scott K.        Partner         002        3.10       4,340.00   and status of the case
11/13/2018   Snyder         Neil M.         Counsel         002        0.50         462.50   Side letters; distribution of financing documents

11/14/2018   Charles        Scott K.        Partner         002        0.20         280.00 Telephone calls regarding the store closing process and status of the case
11/14/2018   Snyder         Neil M.         Counsel         002        2.00       1,850.00 Side letters; review of filings
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                                                           Project
Work Date       Last Name      First Name       Title     Category   Hours    Work Amount                                  Description
                                                                                           Telephone calls with various parties regarding store closing process and
11/15/2018   Charles        Scott K.        Partner         002        0.90       1,260.00 status of the case
11/15/2018   Snyder         Neil M.         Counsel         002        0.50         462.50 Side letters; communication re transaction status

                                                                                           Review various pleadings/papers/emails; telephone calls with various
11/16/2018   Charles        Scott K.        Partner         002        1.10       1,540.00 parties regarding store closing process and status of the case
11/16/2018   Snyder         Neil M.         Counsel         002        1.00         925.00 Side letters
                                                                                           Telephone calls with various parties regarding store closing process and
11/19/2018   Charles        Scott K.        Partner         002        1.00       1,400.00 status of the case
11/20/2018   Charles        Scott K.        Partner         002        0.60         840.00 Telephone calls regarding store closing and status of the case
11/20/2018   Snyder         Neil M.         Counsel         002        1.20       1,110.00 Side letters; communication re financing agrements
                                                                                           Telephone calls with various parties regarding store closing process and
11/21/2018   Charles        Scott K.        Partner         002        0.40         560.00 status of the case
11/21/2018   Snyder         Neil M.         Counsel         002        0.50         462.50 Side letters
                                                                                           Telephone calls with various parties regarding store closing process and
11/26/2018   Charles        Scott K.        Partner         002        0.80       1,120.00 status of the case
11/26/2018   Snyder         Neil M.         Counsel         002        0.50         462.50 Communication re liquidation proposals
                                                                                           Telephone calls with various parties regarding store closing process and
11/27/2018   Charles        Scott K.        Partner         002        1.00       1,400.00 status of the case
                                                                                           Liquidation process letter; conference call regarding liquidation process
11/27/2018   Snyder         Neil M.         Counsel         002        1.80       1,665.00 letter; side letters
                                                                                           Review proposed business plan re 505 store and financial information
                                                                                           thereon; telephone calls with various parties regarding the foregoing, store
11/28/2018   Charles        Scott K.        Partner         002        1.70       2,380.00 closing process and status of the case
11/29/2018   Snyder         Neil M.         Counsel         002        0.50         462.50 Review of public filings; communication regarding same
                                                                                           Review pleadings re: Uhaul sale; review and comment on GOB process
                                                                                           letter; telephone calls with various parties regarding the foregoing and
11/30/2018   Charles        Scott K.        Partner         002        1.80       2,520.00 status of the case
                                                                                           Side letters; review of financing transactions; communication regarding
11/30/2018   Snyder         Neil M.         Counsel         002        0.90         832.50 same

12/01/2018   Snyder         Neil M.         Counsel         002        0.70         647.50 Review of liquidation process letter; communication regarding same
                                                                                           Review various pleadings/papers; telephone calls with various parties
12/03/2018   Charles        Scott K.        Partner         002        1.10       1,540.00 regarding store closing process and status of the case

                                                                                          Review materials re store closing sale process; telephone calls with various
12/04/2018   Charles        Scott K.        Partner         002        0.60        840.00 parties regarding store closing process and status of the case

12/05/2018   Charles        Scott K.        Partner         002        0.60         840.00 Telephone calls regarding store closing process and status of the case
                                                                                           Review ESL bid; telephone calls with various parties regarding store closing
12/06/2018   Charles        Scott K.        Partner         002        1.10       1,540.00 process and status of the case
12/06/2018   Snyder         Neil M.         Counsel         002        0.50         462.50 Side letters

                                                                                           Review terms of various liquidator bids; review emails regarding liquidator
12/07/2018   Charles        Scott K.        Partner         002        2.70       3,780.00 bids; telephone calls with various parties regarding the foregoing
12/07/2018   Snyder         Neil M.         Counsel         002        0.60         555.00 Liquidator bids
                                                                                           Review various store closing bids and related documentation; telephone
12/08/2018   Charles        Scott K.        Partner         002        2.50       3,500.00 calls with various parties regarding the same
                                                                                           Telephone calls with various parties regarding store closing process and
12/09/2018   Charles        Scott K.        Partner         002        0.30         420.00 status of the case
12/09/2018   Snyder         Neil M.         Counsel         002        2.40       2,220.00 Liquidator bid analysis; communication re same
                                                                                           Review materials from M‐III regarding sales process; review liquidation bid
                                                                                           from GB/Hilco; telephone calls with various parties regarding store closing
12/10/2018   Charles        Scott K.        Partner         002        1.50       2,100.00 process and status of the case
12/10/2018   Snyder         Neil M.         Counsel         002        0.80         740.00 Liquidator diligence; communication re same
                                                                                           Review materials re: GOB sales; review emails regarding ESL potential bid;
                                                                                           telephone calls with various parties regarding the foregoing and status of
12/11/2018   Charles        Scott K.        Partner         002        2.50       3,500.00 the case
12/11/2018   Snyder         Neil M.         Counsel         002        0.60         555.00 Side letters; communication re transaction status

                                                                                           Review and comment on Mill's wind down project plan; review and
                                                                                           comment on GOB presentation; telephone calls with various parties
12/12/2018   Charles        Scott K.        Partner         002        4.00       5,600.00 regarding the foregoing, store closing process and status of the case
12/13/2018   Snyder         Neil M.         Counsel         002        0.50         462.50 Side letters; communication re transaction status

                                                                                           Review M‐III deck regarding creditor recovery consideration and comment
                                                                                           thereon; telephone calls with various parties regarding creditor recovery
12/14/2018   Charles        Scott K.        Partner         002        5.00       7,000.00 deck, store closing process, liquidator proposals and status of the case
12/14/2018   Snyder         Neil M.         Counsel         002        1.00         925.00 Liquidator bid process; communication re same

                                                                                           Review various materials regarding store closing process; telephone calls
12/15/2018   Charles        Scott K.        Partner         002        0.90       1,260.00 with various parties regarding the foregoing and status of the case
                                                                                           Review M‐III deck on store closing bids and comment thereon; telephone
                                                                                           calls with various parties regarding the foregoing, various claims and status
12/16/2018   Charles        Scott K.        Partner         002        2.60       3,640.00 of the case
12/16/2018   Snyder         Neil M.         Counsel         002        0.50         462.50 Agency agreement
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Work Date       Last Name      First Name       Title     Category   Hours    Work Amount                                     Description
                                                                                             Review and comment on revised GOB materials prepared by M‐III; review
                                                                                             additional revisions to Abacus proposal/comparing with other liquidation
                                                                                             bids; review and comment on creditor recovery deck; telephone calls with
                                                                                             various parties regarding the foregoing, liquidator proposals and status of
12/17/2018   Charles        Scott K.        Partner         002        4.00       5,600.00   the case
12/17/2018   Snyder         Neil M.         Counsel         002        1.00         925.00   Review of liquidator bid deck; communication regarding same
                                                                                             Review revised proposal from Tiger/GA; review and comment on revised
                                                                                             creditor recovery deck; attention to hearing; review terms of SB360
                                                                                             proposal; review agency agreement precedents; telephone calls with
                                                                                             various parties regarding store closing process, liquidator bids and status of
12/18/2018   Charles        Scott K.        Partner         002        4.70       6,580.00   the case
                                                                                             Liquidator bid process; agency agreement; communication regarding the
12/18/2018   Snyder         Neil M.         Counsel         002        2.00       1,850.00   foregoing
                                                                                             Review pleadings/papers regarding 12/20 hearing; review revised
                                                                                             liquidation bids from Tiger/GA and Gordon/Hilco; telephone calls with
                                                                                             various process regarding store closing process, agency agreement and
12/19/2018   Charles        Scott K.        Partner         002        4.60       6,440.00   status of the case
12/19/2018   Snyder         Neil M.         Counsel         002        1.50       1,387.50   Liquidator bidding process; communication regarding same
                                                                                             Review draft agency agreement; review email correspondence; telephone
12/20/2018   Charles        Scott K.        Partner         002        2.10       2,940.00   calls with various parties regarding the foregoing
                                                                                             Review emails regarding GOB process; continued review and comment on
                                                                                             draft agency agreement; telephone calls with various parties regarding
                                                                                             store closing process, agency agreement, various claims and status of the
12/21/2018   Charles        Scott K.        Partner         002        4.50       6,300.00   case
                                                                                             Agency agreement; communication regarding the same and liquidator bid
12/21/2018   Snyder         Neil M.         Counsel         002        3.50       3,237.50   process; various related conference calls

                                                                                           Review and comment on revised draft agency agreement; review
12/22/2018   Charles        Scott K.        Partner         002        2.40       3,360.00 precedents; telephone calls with various parties regarding the same
12/22/2018   Snyder         Neil M.         Counsel         002        2.80       2,590.00 Agency agreement
                                                                                           Review and comment on revised draft agency agreement; telephone calls
12/23/2018   Charles        Scott K.        Partner         002        5.20       7,280.00 with various parties regarding agency agreement
                                                                                           Conference call re agency agreement; preparation for same; agency
12/23/2018   Snyder         Neil M.         Counsel         002        5.20       4,810.00 agreement; communication re same
                                                                                           Review and comment on revised agency agreement; telephone calls with
12/24/2018   Charles        Scott K.        Partner         002        2.00       2,800.00 various parties regarding the same
12/24/2018   Snyder         Neil M.         Counsel         002        0.50         462.50 Communication re liquidator bid process
                                                                                           Review revisions to agency agrement; telephone calls with various parties
12/26/2018   Charles        Scott K.        Partner         002        1.70       2,380.00 regarding agency agreement and status of the case
12/26/2018   Snyder         Neil M.         Counsel         002        1.50       1,387.50 Agency agreement; communication regarding same
                                                                                           Review email correspondence from liquidator bidders regarding inventory
                                                                                           diligence; telephone calls with various parties regarding agency agreement,
12/27/2018   Charles        Scott K.        Partner         002        1.40       1,960.00 store closing process and status of the case
12/27/2018   Snyder         Neil M.         Counsel         002        0.60         555.00 Communication regarding liquidator bids
                                                                                           Review of agency agreement mark‐ups from Gordon/Hilco and Tiger/GA;
                                                                                           review email correspondence regarding liquidator bids; review ESL
                                                                                           proposal; review SB/360 proposal; review Abacus confirmation; telephone
                                                                                           calls with various parties regarding store closing bids and status of the
12/28/2018   Charles        Scott K.        Partner         002        4.00       5,600.00 transaction
12/28/2018   Snyder         Neil M.         Counsel         002        0.70         647.50 Review of liquidator bids

                                                                                           Review various revised proposals regarding agency agreements from
12/29/2018   Charles        Scott K.        Partner         002        2.60       3,640.00 liquidators; telephone calls with various parties regarding the same
12/29/2018   Snyder         Neil M.         Counsel         002        1.80       1,665.00 Review of liquidator bids; communication regarding same
                                                                                           Communication regarding liquidator bids and agency agreement; review of
12/30/2018   Snyder         Neil M.         Counsel         002        2.30       2,127.50 deck

                                                                                             Review draft agency agreement revisions; review agency agreement issues
                                                                                             list; review emails regarding store closing process; review emails regarding
                                                                                             data files; telephone calls with various parties regarding agency agreement,
12/31/2018   Charles        Scott K.        Partner         002        4.40       6,160.00   store closing process and status of the case
12/31/2018   Snyder         Neil M.         Counsel         002        0.80         740.00   Communication regarding liquidator bids
10/15/2018   Adlerstein     David M.        Counsel         006        0.20         200.00   Attention to emails regarding bankruptcy
10/16/2018   Adlerstein     David M.        Counsel         006        0.40         400.00   Attention to bankruptcy matters
10/29/2018   Charles        Scott K.        Partner         006        0.10         140.00   Review email regarding SBD contingent payment report
10/29/2018   Adlerstein     David M.        Counsel         006        0.20         200.00   Attention to bankruptcy matters
                                                                                             Review filed first day pleadings and agenda; travel to and attend first day
                                                                                             hearings in White Plains; telephone calls with various parties related to the
10/15/2018   Charles        Scott K.        Partner         007        8.90      12,460.00   foregoing and the status of the case
10/15/2018   Snyder         Neil M.         Counsel         007        5.50       5,087.50   First day hearing and related travel
10/15/2018   Chatani        Neil K.         Associate       007        1.70       1,572.50   Review first day pleadings
10/31/2018   Neff           Daniel A.       Partner         007        0.60         840.00   Attention to bankruptcy matters
11/06/2018   Charles        Scott K.        Partner         007        1.20       1,680.00   Review 2004 by Committee; calls re same
11/07/2018   Charles        Scott K.        Partner         007        0.40         560.00   Review emails
                                                                                             Review various pleadings/papers; review email correspondence re:
11/14/2018   Charles        Scott K.        Partner         007        2.10       2,940.00   Committee and 2004 motion; telephone calls re the foregoing
                                                                                             Attention to hearing; review various pleadings/papers in connection
11/15/2018   Charles        Scott K.        Partner         007        4.50       6,300.00   therewith
11/15/2018   Snyder         Neil M.         Counsel         007        2.00       1,850.00   Attention to second day hearing
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Work Date       Last Name       First Name       Title     Category   Hours Work Amount                                   Description
12/07/2018   Adlerstein     David M.         Counsel          007       0.30      300.00 Attention to bankruptcy matters
12/20/2018   Charles        Scott K.         Partner          007       4.70    6,580.00 Attention to omnibus hearing
12/20/2018   Snyder         Neil M.          Counsel          007       1.00      925.00 Attention to omnibus hearing
10/16/2018   Wolf           Amy R.           Of Counsel       008       0.30      390.00 Calls re Sears Canada
                                                                                         Calls re SRCAC/intercompany claims and Sears Canada; review certain
10/16/2018   Charles        Scott K.         Partner         008        1.30    1,820.00 public financial information in connection therewith
                                                                                         Review of MTN documents and communication regarding same;
10/16/2018   Snyder         Neil M.          Counsel         008        1.50    1,387.50 communication regarding SRAC exchange notes
10/17/2018   Charles        Scott K.         Partner         008        0.40      560.00 Calls re Sears Re
10/18/2018   Wolf           Amy R.           Of Counsel      008        0.10      130.00 Call re Sears Canada
                                                                                         Review certain materials re Sears Re; telephone calls with various parties re
10/18/2018   Charles        Scott K.         Partner         008        2.00    2,800.00 Sears Re and Sears Canada
10/18/2018   Snyder         Neil M.          Counsel         008        1.20    1,110.00 Telephone calls regarding SHS and Sears Re; preparation for same;

10/19/2018   Charles        Scott K.         Partner         008        0.60         840.00 Review correspondence from Indenture Trustee with respect to SRAC notes

                                                                                            Review materials regarding protection agreements and Sears Re; review
10/23/2018   Charles        Scott K.         Partner         008        1.80       2,520.00 correspondence with trustee regarding MTNs; calls regarding foregoing
10/23/2018   Snyder         Neil M.          Counsel         008        1.20       1,110.00 Call re KCD structure and associated preparation
                                                                                            Review certain documents regarding Sears Re; telephone calls regarding
10/24/2018   Charles        Scott K.         Partner         008        0.90       1,260.00 protection agreements
                                                                                            Review protection agreement deck; review emails regarding protection
                                                                                            agreements; review correspondence from various states regarding
10/26/2018   Charles        Scott K.         Partner         008        2.00       2,800.00 protection agreements; telephone calls re the foregoing
10/26/2018   Snyder         Neil M.          Counsel         008        0.80         740.00 Calls regarding SHS business structure

10/29/2018   Charles        Scott K.         Partner         008        0.30         420.00   Review emails regarding protection agreements and various state notices
10/30/2018   Charles        Scott K.         Partner         008        0.60         840.00   Review emails re protection agreements; calls re same
11/05/2018   Charles        Scott K.         Partner         008        0.40         560.00   Review materials re protection agreements;
11/06/2018   Wolf           Amy R.           Of Counsel      008        0.50         650.00   Read litigation monitor's report (Sears Canada).

11/06/2018   Charles        Scott K.         Partner         008        1.10       1,540.00 Review pleadings re Sears Canada; telephone calls re same and MTNs
11/07/2018   Wolf           Amy R.           Of Counsel      008        0.30         390.00 Calls re Sears Canada
                                                                                            Review various documents re Sears Canada/Monitor's report; telephone
11/07/2018   Charles        Scott K.         Partner         008        1.30       1,820.00 calls re same
11/08/2018   Wolf           Amy R.           Of Counsel      008        0.60         780.00 Conf. call re Sears Canada litigation.
11/08/2018   Charles        Scott K.         Partner         008        1.40       1,960.00 Review materials re: Sears Canada claims; telephone calls re same
11/09/2018   Charles        Scott K.         Partner         008        0.20         280.00 Telephone calls re MTNs
11/13/2018   Charles        Scott K.         Partner         008        0.20         280.00 Telephone calls re Sears Canada
11/14/2018   Wolf           Amy R.           Of Counsel      008        0.80       1,040.00 Emails and calls re Sears Canada
                                                                                            Review emails re: Sears Canada; review pleadings re MTNs; telephone calls
11/14/2018   Charles        Scott K.         Partner         008        0.90       1,260.00 with various parties regarding the foregoing
11/15/2018   Wolf           Amy R.           Of Counsel      008        0.10         130.00 Call re Sears Canada
11/15/2018   Charles        Scott K.         Partner         008        0.10         140.00 Calls re Sears Canada
11/16/2018   Charles        Scott K.         Partner         008        0.30         420.00 Telephone calls re Sears Canada
11/19/2018   Charles        Scott K.         Partner         008        0.50         700.00 Review various pleadings/papers; telephone calls re MTNs
11/19/2018   Snyder         Neil M.          Counsel         008        1.50       1,387.50 Attention to MTN hearing; communication re same
                                                                                            Review emails re: Sears Canada; telephone calls with various parties
11/20/2018   Charles        Scott K.         Partner         008        0.70         980.00 regarding the foregoing
11/21/2018   Wolf           Amy R.           Of Counsel      008        0.10         130.00 Call re Sears Canada
                                                                                            Review materials re: Sears Canada/Factum of Monitor, 27th Supplement,
                                                                                            Factum of Litigation Inspector; review pleadings/papers; telephone calls
11/21/2018   Charles        Scott K.         Partner         008        1.50       2,100.00 with various parties re the same
11/26/2018   Wolf           Amy R.           Of Counsel      008        1.80       2,340.00 Review filings in Sears Canada; communication re same

11/26/2018   Charles        Scott K.         Partner         008        0.80       1,120.00 Review pleadings/papers re: Sears Canada; telephone calls re the same
                                                                                            Review emails/correspondence; telephone calls with various parties
11/29/2018   Charles        Scott K.         Partner         008        0.30         420.00 regarding Sears Canada and status of the case
12/05/2018   Charles        Scott K.         Partner         008        0.10         140.00 Review emails regarding Sears Canada
12/06/2018   Wolf           Amy R.           Of Counsel      008        0.10         130.00 Call re Sears Canada
12/06/2018   Charles        Scott K.         Partner         008        0.10         140.00 Call re Sears Canada
12/12/2018   Wolf           Amy R.           Of Counsel      008        0.20         260.00 Emails re stay in Sears Canada litigation.
                                                                                            Review pleadings/papers regarding Sears Canada litigation; review corresp
                                                                                            re motion to extend stay; telephone calls re the foregoing and status of the
12/13/2018   Charles        Scott K.         Partner         008        1.20       1,680.00 case
                                                                                            Telephone calls and emails regarding Sears Canada and stay extension
12/17/2018   Wolf           Amy R.           Of Counsel      008        1.00       1,300.00 motion
                                                                                            Review emails regarding Sears Canada/Sears automatic stay extension; calls
12/17/2018   Charles        Scott K.         Partner         008        0.60         840.00 re same
12/18/2018   Wolf           Amy R.           Of Counsel      008        0.50         650.00 Various calls re stay extension motion and Sears Canada.
                                                                                            Restructuring Committee; review emails regarding proposed supplemental
10/25/2018   Charles        Scott K.         Partner         009        1.30       1,820.00 resolutions; telephone calls re same

10/16/2018   Charles        Scott K.         Partner         010        0.80       1,120.00 Calls re PBGC claims
                                                                                            Review correspondence with US Bank regarding PBGC escrow account and
10/23/2018   Charles        Scott K.         Partner         010        1.30       1,820.00 PA Protection Account; calls re same
10/24/2018   Charles        Scott K.         Partner         010        0.30         420.00 Telephone calls re PBGC escrow
10/30/2018   Charles        Scott K.         Partner         010        1.30       1,820.00 Review information re severance; calls re same
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Work Date       Last Name      First Name       Title     Category   Hours Work Amount                                  Description
10/31/2018   Charles        Scott K.        Partner          010       0.50      700.00 Review MIII materials re: severance; calls re same
                                                                                        Review emails re PBGC termination of pension plan and review certain
11/02/2018   Charles        Scott K.        Partner         010        0.60      840.00 documents in connection therewith
11/05/2018   Charles        Scott K.        Partner         010        0.40      560.00 Review emails re PBGC claims; calls re same
11/05/2018   Snyder         Neil M.         Counsel         010        0.50      462.50 PBGC escrow
11/06/2018   Snyder         Neil M.         Counsel         010        0.30      277.50 PBGC mortgage release
11/07/2018   Snyder         Neil M.         Counsel         010        0.30      277.50 PBGC mortgage release
11/26/2018   Charles        Scott K.        Partner         010        0.10      140.00 Review email re: PBGC escrow
12/04/2018   Charles        Scott K.        Partner         010        1.30    1,820.00 Calls re PBGC matters
12/04/2018   Snyder         Neil M.         Counsel         010        1.00      925.00 Conference call
12/05/2018   Charles        Scott K.        Partner         010        0.70      980.00 Review materials regarding Plan Protection Agreement/PBGC claim
12/11/2018   Charles        Scott K.        Partner         010        0.60      840.00 Calls re PBGC claims
                                                                                        Review various provisions of plan protection agreement; calls re PBGC
12/12/2018   Charles        Scott K.        Partner         010        1.50    2,100.00 claims
12/13/2018   Charles        Scott K.        Partner         010        0.20      280.00 Telephone calls re PBGC claims
12/14/2018   Charles        Scott K.        Partner         010        0.30      420.00 Calls re PBGC claim
12/16/2018   Charles        Scott K.        Partner         010        0.80    1,120.00 Review various documents regarding PBGC claims/PPA
12/19/2018   Charles        Scott K.        Partner         010        0.80    1,120.00 Telephone calls with various parties regarding PBGC claims
12/26/2018   Charles        Scott K.        Partner         010        0.30      420.00 Review info regarding PBGC claims
12/27/2018   Charles        Scott K.        Partner         010        0.40      560.00 Review info regarding PBGC claims
10/16/2018   Charles        Scott K.        Partner         011        0.30      420.00 Calls re retention
10/22/2018   Charles        Scott K.        Partner         011        0.20      280.00 Calls re retention
10/23/2018   Snyder         Neil M.         Counsel         011        0.60      555.00 WLRK retention application
10/24/2018   Charles        Scott K.        Partner         011        0.30      420.00 Telephone calls re retention
10/24/2018   Snyder         Neil M.         Counsel         011        0.50      462.50 WLRK retention application
10/25/2018   Wolf           Amy R.          Of Counsel      011        0.30      390.00 Calls re WLRK retention
10/25/2018   Charles        Scott K.        Partner         011        0.30      420.00 Telephone calls re WLRK retention
10/26/2018   Wolf           Amy R.          Of Counsel      011        0.40      520.00 Declaration and calls re same

10/26/2018   Charles        Scott K.        Partner         011        0.70         980.00 Review and comment on revisions to Wolf declaration; calls re same
10/26/2018   Snyder         Neil M.         Counsel         011        2.60       2,405.00 WLRK retention application
10/29/2018   Wolf           Amy R.          Of Counsel      011        0.20         260.00 US trustee comments
                                                                                           Review revisions to WLRK retention papers; review US Trustee comments;
10/29/2018   Charles        Scott K.        Partner         011        1.00       1,400.00 telephone calls re the same
10/30/2018   Wolf           Amy R.          Of Counsel      011        0.40         520.00 WLRK retention
10/30/2018   Charles        Scott K.        Partner         011        0.40         560.00 Telephone calls re retention
10/30/2018   Snyder         Neil M.         Counsel         011        0.60         555.00 Revised declaration
10/31/2018   Snyder         Neil M.         Counsel         011        0.30         277.50 Communication regarding retention application
11/01/2018   Charles        Scott K.        Partner         011        0.30         420.00 Telephone calls re retention
11/01/2018   Snyder         Neil M.         Counsel         011        0.40         370.00 Calls regarding retention application
11/02/2018   Snyder         Neil M.         Counsel         011        0.50         462.50 Calls regarding retention application
11/06/2018   Charles        Scott K.        Partner         011        0.20         280.00 Calls re modifications to retention application


11/06/2018   Snyder         Neil M.         Counsel         011        1.70       1,572.50 Supplement to WLRK retention application; communicaztion re same


11/07/2018   Charles        Scott K.        Partner         011        0.40         560.00 WLRK engagement

11/07/2018   Snyder         Neil M.         Counsel         011        0.70         647.50   Supplement to WLRK retention application; communicaztion re same
11/08/2018   Snyder         Neil M.         Counsel         011        1.50       1,387.50   Supplements to WLRK retention application
11/15/2018   Wolf           Amy R.          Of Counsel      011        0.20         260.00   Emails re WLRK retention
11/16/2018   Snyder         Neil M.         Counsel         011        0.40         370.00   Communication regarding WLRK retention order
                                                                                             Review various materials and information regarding DIP financing;
10/17/2018   Charles        Scott K.        Partner         013        3.10       4,340.00   telephone calls re same
10/24/2018   Charles        Scott K.        Partner         013        1.20       1,680.00   Review financial info regarding DIP Financing;
10/25/2018   Charles        Scott K.        Partner         013        0.60         840.00   Telephone calls re DIP financing and related matters
10/30/2018   Chatani        Neil K.         Associate       013        1.20       1,110.00   Discuss financing transactions
10/31/2018   Charles        Scott K.        Partner         013        0.60         840.00   Document request; calls re same and DIP financing process
11/05/2018   Snyder         Neil M.         Counsel         013        0.50         462.50   Review of potentially unencumbered assets
11/09/2018   Charles        Scott K.        Partner         013        0.30         420.00   Review pleadings/papers re DIP
11/12/2018   Snyder         Neil M.         Counsel         013        0.40         370.00   Review of financing agreements
11/26/2018   Charles        Scott K.        Partner         013        0.60         840.00   Review pleadings/papers re DIP Facility; telephone calls re same
11/27/2018   Snyder         Neil M.         Counsel         013        1.00         925.00   Attention to DIP hearing and preparation for same


12/05/2018   Snyder         Neil M.         Counsel         013        3.20       2,960.00 Preparation and production of closing sets; meetings regarding same
12/05/2018   Chatani        Neil K.         Associate       013        5.50       5,087.50 Production of closing sets; meetings regarding same
                                                                                           Preparation and production of closing sets; communication regarding the
12/06/2018   Snyder         Neil M.         Counsel         013        3.20       2,960.00 foregoing

12/07/2018   Snyder         Neil M.         Counsel         013        4.50       4,162.50   Preparation and production of closing sets; communication regarding same
12/08/2018   Snyder         Neil M.         Counsel         013        1.20       1,110.00   Production of closing sets
12/12/2018   Snyder         Neil M.         Counsel         013        0.50         462.50   Closing statements
12/21/2018   Snyder         Neil M.         Counsel         013        0.30         277.50   Production
10/15/2018   Charles        Scott K.        Partner         018        0.60         840.00   Review certain real estate information
10/16/2018   Charles        Scott K.        Partner         018        1.60       2,240.00   Review real estate materials; calls re same
10/16/2018   Ross           Richard M.      Associate       018        0.10          85.00   Attention to matters relating to bankruptcy case
10/17/2018   Charles        Scott K.        Partner         018        0.80       1,120.00   Calls re real estate matters
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Work Date       Last Name      First Name       Title   Category   Hours Work Amount                                   Description
10/18/2018   Charles        Scott K.        Partner        018       1.50    2,100.00 Review and comment on A&G Agreement; calls re same
10/18/2018   Panovka        Robin           Partner        018       2.00    2,800.00 Penn Plaza
                                                                                      Telephone calls with various parties regarding leases and other real estate
10/19/2018   Charles        Scott K.        Partner       018        0.90    1,260.00 matters
10/19/2018   Ross           Richard M.      Associate     018        0.30      255.00 Attention to real estate matters
                                                                                      A&G engagement letter and calls regarding same; calls regarding landlord
10/19/2018   Snyder         Neil M.         Counsel       018        3.50    3,237.50 side letters; master leases
10/22/2018   Chen           Dianna          Counsel       018        3.00    2,925.00 Ground lease reviews and summaries.
10/22/2018   Charles        Scott K.        Partner       018        0.80    1,120.00 Review various real estate information
10/22/2018   Panovka        Robin           Partner       018        3.00    4,200.00 Penn Plaza
10/22/2018   Snyder         Neil M.         Counsel       018        2.30    2,127.50 Revised A&G engagement letter and calls regarding same
10/23/2018   Chen           Dianna          Counsel       018        3.00    2,925.00 Ground lease reviews and summaries.
10/23/2018   Charles        Scott K.        Partner       018        1.10    1,540.00 Calls re A&G agreement and real estate transactions
10/23/2018   Panovka        Robin           Partner       018        3.00    4,200.00 Penn Plaza
10/23/2018   Koenig         Mark A.         Counsel       018        1.00      975.00 Attention to real estate matters
10/23/2018   Ross           Richard M.      Associate     018        0.40      340.00 Review of ground leases
                                                                                      Telephone calls with various parties regarding real estate process and A&G
10/24/2018   Charles        Scott K.        Partner       018        0.70      980.00 agreement
10/24/2018   Panovka        Robin           Partner       018        3.00    4,200.00 Penn Plaza
10/24/2018   Ross           Richard M.      Associate     018        0.30      255.00 Review of ground leases
                                                                                      Telephone calls with various parties re A&G retention and real estate
10/25/2018   Charles        Scott K.        Partner       018        0.50      700.00 matters
10/25/2018   Ross           Richard M.      Associate     018        0.60      510.00 Review of ground leases
10/25/2018   Snyder         Neil M.         Counsel       018        1.00      925.00 Call re A&G engagement letter; A&G engagement letter
10/26/2018   Chen           Dianna          Counsel       018        3.75    3,656.25 Kmart ground lease reviews and summaries.
10/26/2018   Charles        Scott K.        Partner       018        0.70      980.00 Review comments to A&G agreements; calls re same
10/26/2018   Ross           Richard M.      Associate     018        0.50      425.00 Review of ground leases
10/26/2018   Snyder         Neil M.         Counsel       018        1.30    1,202.50 ABG retention agreement
10/27/2018   Snyder         Neil M.         Counsel       018        0.30      277.50 A&G retention agreement
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10/29/2018   Ross           Richard M.       Associate           018       0.40      340.00 Review of ground leases
                                                                                            A&G agreement; review emails re A&G agreement; Penn Plaza calls re the
10/30/2018   Charles        Scott K.         Partner            018        1.90    2,660.00 foregoing
10/30/2018   Snyder         Neil M.          Counsel            018        1.20    1,110.00 ABG retention agreement;
10/30/2018   Roccisano      Suzanne          Lead Paralegal     018        0.25       68.75 Additional livelink docs and email to client for docs
10/31/2018   Charles        Scott K.         Partner            018        0.20      280.00 Review emails from Sears Real Estate
11/01/2018   Charles        Scott K.         Partner            018        0.80    1,120.00 Review emails re: A&G contract; telephone calls re same
11/05/2018   Chen           Dianna           Counsel            018        0.50      487.50 Telephone calls re Penn Plaza



11/05/2018   Charles        Scott K.         Partner            018        0.90       1,260.00 Telephone calls re real estate matters



11/06/2018   Charles        Scott K.         Partner            018        0.20        280.00   Review additional changes to A&G Realty Agreement; calls re same
11/06/2018   Snyder         Neil M.          Counsel            018        0.70        647.50   A&G agreement; communication re same
11/07/2018   Charles        Scott K.         Partner            018        0.50        700.00   Telephone calls re real estate matters
11/08/2018   Charles        Scott K.         Partner            018        0.30        420.00   Telephone calls re real estate matters
11/12/2018   Snyder         Neil M.          Counsel            018        0.30        277.50   A&G services agreement
                                                                                                Review emails re: A&G; telephone calls re same and other real estate
11/13/2018   Charles        Scott K.         Partner            018        0.50        700.00   matters
11/14/2018   Snyder         Neil M.          Counsel            018        0.30        277.50   A&G services agreement
11/15/2018   Snyder         Neil M.          Counsel            018        0.50        462.50   A&G agreement
11/16/2018   Charles        Scott K.         Partner            018        0.70        980.00   Review emails re real estate matters; telephone calls re same
11/16/2018   Snyder         Neil M.          Counsel            018        0.70        647.50   Finalization of A&G services agreement

11/21/2018   Charles        Scott K.         Partner            018        0.50        700.00 Review financial information re: Buena Park sale; telephone calls re same

11/26/2018   Charles        Scott K.         Partner            018        0.90       1,260.00 Review information re: Buena Park/proposed sale transaction; calls re same

                                                                                              Review various papers in connection with DIP hearing; attenhtion to DIP
11/27/2018   Charles        Scott K.         Partner            018        2.80      3,920.00 hearing; telephone calls with various parties regarding the foregoing
11/28/2018   Wolf           Amy R.           Of Counsel         018        0.50        650.00 Calls re Penn Plaza.
                                                                                              Review materials/documents regarding Buena Park; review materials re:
                                                                                              Penn Plaza/MTA eminent domain; telephone calls re the foregoing and
11/28/2018   Charles        Scott K.         Partner            018        2.30      3,220.00 lease renegotiation process
11/29/2018   Charles        Scott K.         Partner            018        0.30        420.00 Telephone calls re real estate matters
12/03/2018   Charles        Scott K.         Partner            018        0.30        420.00 Calls re real estate matters
12/04/2018   Charles        Scott K.         Partner            018        0.20        280.00 Calls re real estate matters
12/13/2018   Wolf           Amy R.           Of Counsel         018        0.20        260.00 Emails and calls re Penn Plaza
12/13/2018   Charles        Scott K.         Partner            018        0.20        280.00 Telephone calls re Penn Plaza
                                                                         382.80    463,657.50
